The following cases in which the Court of Appeals issued published opinions have been appealed to
the Supreme Court:

    1. Stanlee Sebastian Jones
       v. Commonwealth of Virginia
       Record No. 0730-18-1
       Opinion rendered by Judge Humphreys on
        November 5, 2019

    2. Shannon Shamar Cousett
       v. Commonwealth of Virginia
       Record No. 0967-18-1
       Opinion rendered by Judge Humphreys on
        November 5, 2019

    3. Tobias O. Reed
       v. Commonwealth of Virginia
       Record No. 1305-15-4
       Opinion rendered by Judge Beales on
        November 12, 2019

    4. Charles Erskine Church
       v. Commonwealth of Virginia
       Record No. 0264-18-2
       Opinion rendered by Chief Judge Decker on
        November 12, 2019

    5. Adam Christopher Armstrong
       v. Kristy Marie Armstrong
       Record No. 0215-19-3
       Opinion rendered by Judge O’Brien on
        November 12, 2019

    6. Yorhonda Milldred Pooler, s/k/a
       Yorhonda Mildred Pooler
       v. Commonwealth of Virginia
       Record No. 1786-18-1
       Opinion rendered by Judge Huff on
        November 19, 2019
7. Gerard Lamontese Lee
   v. Commonwealth of Virginia
   Record No. 0076-19-1
   Opinion rendered by Judge Beales on
    November 19, 2019

8. Larry Dornell Palmer
   v. Commonwealth of Virginia
   Record No. 1294-18-1
   Opinion rendered by Judge Beales on
    November 26, 2019

9. Lenny Rock Kenner
   v. Commonwealth of Virginia
   Record No. 0934-18-1
   Opinion rendered by Judge Humphreys on
    December 3, 2019

10. Willie Hicks, Jr.
    v. Commonwealth of Virginia
    Record No. 1543-18-2
    Opinion rendered by Chief Judge Deceker on
    December 3, 2019

11. Robert Anthony Tyler Martinez
    v. Commonwealth of Virginia
    Record No. 1199-18-3
    Opinion rendered by Judge O’Brien on
    December 10, 2019

12. Andre Washington
    v. Caroline County Department of Social Services
    Record No. 0870-19-2
    Opinion rendered by Judge Malveaux on
    December 10, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Thomas Robert Lienau
   v. Commonwealth of Virginia
   Record No. 0685-17-4
   Opinion rendered by Judge Petty
    on September 11, 2018
   Refused (190325)

2. Harry Lee Davison, III
   v. Commonwealth of Virginia
   Record No. 0633-17-2
   Opinion rendered by Senior Judge Clements
    on October 23, 2018
   Judgment of Court of Appeals affirmed by order entered
    on December 12, 2019 (181694)
